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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DTVISION

ROBERT GRIZZLE,
Institutional ID No. 01998719

                                    Plaintiff,

                                                               No.   5:22-CV-00017-BQ

 BRYSON MCINTIRE,         et a/.,


                             Delendants.

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RTCOMME NDATION OF TIIE TINITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation that the Court deny Plaintiffs motion to vacate the judgment undet

Federal Rule of Civil Procedure 59(e). Plaintiff fi.Ied objections, and the District Court has

made a de novo review ofthe relevant poltions ofthe findings and recommendations. The

objections are ovemrled, and the Court accepts and adopts the findings, conclusions, and

recommendation of the United States Magistrate Judge.

       As a result, Plaintiffs motion to vacate the judgment under Rule 59(e)' (Dkt. No.

23), is denied. This case remains on the docket of the United States Magistrate Judge for

judicial screening under the prior transfer order.   (See   Dkt. No. 6.)

       So ordered.

       DatedMarch     L   ,2023.




                                                     J           WESLEY HENDRIX
                                                     Uni        States Disuict Judge
